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March 9, 2021

William H. Orrick, District Judge
U.S. District Court, Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102

RE:    Brice, et al. v. Stinson, et al.; Case No: 3:19-cv-01481-WHO

Dear Honorable Judge Orrick:

        Pursuant to the Court’s Standing Order for Civil Cases, this letter provides the Court with
the nature and status of the parties’ discovery dispute. The parties met and conferred during the
course of the deposition at which the testimony that is the subject of this discovery dispute letter
was sought, as well as by e-mail, and have been unable to resolve the issue described below.

Plaintiffs’ Position:

        On February 12, 2021, Plaintiffs deposed Defendant L. Steven Haynes in his individual
capacity under Rule 30(b)(1) and as the corporate representative of Defendant Haynes
Investment under Rule 30(b)(6). During that deposition, Plaintiffs inquired about certain
promissory notes pertaining to repayment of funds used to issue loans originated in the name of
Plain Green (one of Think Finance’s tribal lending fronts). Under these promissory notes, Plain
Green paid $1 million to the Haynes Defendants in cash to invest in tribal businesses on behalf
of Think Finance, with the remaining $4.269 million to be paid by Plain Green to the Haynes
Defendant from consumer loan payments, with the Haynes Defendants in turn obligated to pay
those amounts to Think Finance, but also to receive a management fee regarding the same. In
short, these promissory notes directly pertain to the operation and funding of Think Finance’s
rent-a-tribe enterprise alleged by Plaintiffs.

        Haynes thereafter entered into a settlement agreement relating to repayment of the $5.2
million note to Think Finance. During the Haynes deposition, Plaintiffs’ counsel inquired into
the terms of the settlement agreement, which testimony could reveal additional obligations of or
participation by the Haynes Defendants vis-à-vis Think Finance’s rent-a-tribe business and
would thus be directly relevant to the claims at issue in this case. However, Defendants’ counsel
objected to all questions regarding the settlement agreement, instructed Haynes not to answer,
and advised Plaintiffs’ counsel that a protective order would be filed (which Plaintiffs’ counsel
presumed was to be filed before this Court). The parties thus agreed to hold open the
examination and adjourn the deposition pending the Court’s decision on defense counsel’s
anticipated protective order.

        On March 4, 2021, instead of filing a protective order in this case before this Court, the
Haynes Defendants filed a motion for protective order in the Northern District of Texas (Misc.
No. 3:21-mc-0023). Plaintiffs believe this matter is most appropriately and efficiently addressed
by this Court. See Fed R. Civ. P. 26 Advisory Committee Notes (“The court in the district where
the deposition is being taken may, and frequently will, remit the deponent or party to the court

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where the action is pending.”). This is especially true where the questions raised in Defendants’
motion for a protective order can only be answered by a judge thoroughly familiar with all the
facts of the case and the history of the parties’ prior discovery disputes. See Bank of Texas v.
Computer State., Inc, 60 F.R.D. 43, 45 (S.D. Tex. 1973) (transferring protective order motion to
court handling main case because “appreciation of the materiality and importance of the records
and answers sought by the proposed discovery requires a detailed understanding of the main
case.”). While Plaintiffs will also move to transfer Defendants’ motion, Plaintiffs believe it is in
the interest of judicial economy to raise this issue with your Honor now in advance of the
parties’ case management conference and before discovery closes on March 12, 2021.

         Defendants contend that testimony regarding the promissory note between Haynes and
Think Finance and the subsequent settlement agreement between the parties has no relevance to
the issues in the California Lawsuit. Not so. The promissory note and Haynes’ testimony shows
Haynes’ direct involvement in Think Finance, including borrowing money from Think Finance
to, in turn, lend money to Plain Green. And upon receiving repayment on the promissory note by
Plain Green, Haynes had further obligations to continue investing money in tribal businesses.
Plaintiffs have reason to believe that the related settlement agreement is likewise directly
relevant to Plaintiffs’ claims here because it could involve the Haynes Defendants’ financing or
other facilitation of Think Finance’s unlawful tribal lending enterprise and compensation to the
Haynes Defendants for their involvement in the enterprise.

       Plaintiffs respectfully request that the Court order Defendants to testify on the promissory
notes and associated settlement between the Haynes Defendants and Think Finance.

Defendants’ Position:

        Defendants L. Steven Haynes and Haynes Investments, LLC (“Haynes Defendants”) are
two of many parties to a private, confidential settlement of certain litigation pending in Texas
state court. Defendants have an ongoing contractual obligation not to reveal those terms, and
there is an order of the Texas state court temporarily abating the case that requires compliance
with and completion of the terms, including the confidentiality provision. During his Rule
30(b)(1) and 30(b)(6) deposition in this case, and after otherwise being extensively questioned
about the promissory notes Plaintiffs describe above and about his Think Finance related
investments, Mr. Haynes was asked a question that called for him to speak about the confidential
terms of the settlement agreement arising from the state court litigation.

        Rather than instructing Mr. Haynes not to answer, Haynes’s counsel interjected and asked
Plaintiffs’ counsel to speak briefly off the record regarding what he understood was the
appropriate manner to address confidentiality of those terms. As stated on the record after the
deposition resumed, Haynes’s belief was that the appropriate thing to do was to adjourn the
deposition and seek a protective order; however, the deposition was at that point nearly
concluded, and so the parties agreed to complete the questioning and adjourn the deposition at its
conclusion for Haynes to seek the protective order. Plaintiffs’ counsel agreed to further discuss



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the issue—including whether Plaintiffs indeed wished to further pursue questioning regarding
the confidential terms of the Texas state court settlement.

        When Plaintiffs confirmed that they did, in fact, wish to pursue that questioning further,
Haynes filed for a narrow protective order seeking protection from needing to disclose the
confidential settlement terms arising from the Texas state court litigation in the jurisdiction in
which the deposition was taken (the Northern District of Texas). This is consistent with Rule
26(c)(1) (“A party or any person from whom discovery is sought may move for a protective
order in the court where the action is pending—or as an alternative on matters relating to a
deposition, in the court for the district where the deposition will be taken.”). Each of the
foregoing averments is documented in that motion, its accompanying brief, and their exhibits in
the matter captioned Brice, et al. v. Haynes Investments, et al., Misc. No. 3:21-mc-00023, ECF
Nos. 1-3 (N.D. Tx.), which has been assigned to Judge David Godbey (U.S.D.J.), and by him
referred to Judge Rebecca Rutherford (U.S.M.J.). Judge Rutherford has set a briefing and
conferral schedule as well as an April 8, 2021 hearing on the motion. Id. at ECF No. 5.

        Plaintiffs were apparently surprised that the Haynes Defendants would seek protection in
Texas. But that was the Haynes Defendants’ right under Rule 26. They are certain this Court
would likewise have fairly adjudicated their motion. But the Haynes Defendants believed that the
question of whether they should be made to disclose the terms of a confidential, private
settlement of Texas state court litigation, among persons and entities primarily located in Texas,
where the Haynes Defendants reside, would be best decided by a judge in Texas. There is a
strong public policy favoring local courts’ interests in adjudicating such localized controversies,
and the settlement agreement (which was negotiated and entered into in Texas) directs that Texas
law governs and the exclusive forum of any dispute would be in Dallas County (where the
Northern District of Texas sits). There was therefore nothing improper about seeking an order of
protection from the Haynes Defendants’ local district court in Texas.

       It appears Plaintiffs are now seeking to litigate a parallel dispute when one is already
pending in the Northern District of Texas. Although the Haynes Defendants believe they
properly filed their motion for protection there, Plaintiffs’ remedy if they disagree is, as they
acknowledge above, to seek to transfer the motion from Texas to this district; not to litigate dual
disputes in both districts at the same time.


Respectfully submitted,

/s/ Anna Haac                                                 /s/ Jonathan Boughrum
Anna Haac                                                    Jonathan Boughrum
For Plaintiffs                                               For Defendants



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